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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JOESEPH DIBENEDETTO,                         )
                                             )
      Plaintiff,                             )     CIVIL ACTION
                                             )     FILE NO. ______________
v.                                           )
                                             )
AT&T SERVICES, INC.,                         )
                                             )     JURY TRIAL DEMANDED
      Defendant                              )


                                 COMPLAINT

      Plaintiff Joseph DiBenedetto (“Plaintiff” or “DiBenedetto”) respectfully files

this Complaint against Defendant AT&T Services, Inc. (“Defendant” or “AT&T”).

                               INTRODUCTION

     1.      This is a case of illegal age, race, and gender discrimination in the

workplace. DiBenedetto was a high-performing AT&T assistant vice president

with over two decades at the company. That was, until AT&T embarked on a

project to change the age, race, and gender composition of its leadership ranks.

Suddenly, DiBenedetto found himself lacking the assumed longevity, skin color,

and gender AT&T preferred. In fact, DiBenedetto’s supervisor told him that, as a

“58-year-old white guy,” it was unlikely that he would receive a promotion even

though he was qualified for it. Two months later, AT&T eliminated DiBenedetto’s
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position, along with at least a dozen others in his department, all of whom were

white and over the age of fifty, and nearly all of whom were men.

     2.       DiBenedetto brings claims under 42 U.S.C. § 1981 for race

discrimination.

     3.       DiBenedetto also brings claims under Title VII of the Civil Rights Act

of 1964 (“Title VII”), as amended, for race, and gender discrimination.

     4.       DiBenedetto also brings claims under the Age Discrimination in

Employment Act (“ADEA”), for age discrimination.

                     JURISDICTION, VENUE, AND PARTIES

     5.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1331.

     6.       Pursuant to 28 U.S.C. § 1391(b), venue is proper because Defendant

resides and/or conduct business in the Northern District of Georgia, and the

unlawful employment practices giving rise to Plaintiff’s claims occurred in this

judicial district.

     7.       DiBenedetto resides in the Northern District of Georgia and is a

citizen of Georgia.

     8.       AT&T is a for-profit corporation incorporated in Dallas, Texas.

AT&T is licensed to, and does, transact business in Georgia.

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    9.      AT&T may be served with process via its registered agent: CT

Corporation System, 289 S Culver St, Lawrenceville, GA 30046-4805.

   10.      At all times material to this Complaint through DiBenedetto’s last day

of work with AT&T, AT&T was DiBenedetto’s employer, and DiBenedetto was

AT&T’s employee, within the meaning of Title VII and the ADEA.

   11.      At all times material to this Complaint, AT&T had more than 15

employees within the meaning of Title VII and more than 20 employees within the

meaning of the ADEA.

   12.      At all times material to this Complaint, AT&T had more than 500

employees within the meaning of Title VII.

                    ADMINISTRATIVE PROCEEDINGS

   13.      DiBenedetto filed an EEOC Charge on March 1, 2021 alleging race

discrimination, age discrimination, and gender discrimination, and he made

allegations before the EEOC which placed AT&T on fair notice of the Title VII

and ADEA claims DiBenedetto brings in this lawsuit.

   14.      DiBenedetto filed his EEOC charge within 180 days of the last act of

discrimination to which he was subjected, his termination.

   15.      DiBenedetto timely filed his EEOC charge.

   16.      The EEOC issued a Notice of Right to Sue dated August 18, 2021.

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   17.       DiBenedetto has filed this lawsuit less than 90-days after his Notice of

Right to Sue issued.

   18.       DiBenedetto’s Title VII and ADEA claims are timely filed.

   19.       DiBenedetto has exhausted the administrative prerequisites to filing

his Title VII and ADEA claims.

                           FACTUAL ALLEGATIONS

  DiBenedetto’s Position and Performance in AT&T’s Finance Department

   20.       DiBenedetto is a white man over the age of forty.

   21.       He was born May 22, 1962 and, as of his termination giving rise to

this lawsuit, he was 58 years old.

   22.       DiBenedetto began his employment with AT&T as a Tax Director on

October 1, 2000.

   23.       AT&T promoted DiBenedetto and, by the time of his termination

giving rise to this case, he held the position of Assistant Vice President (“AVP”) of

Tax Research and Planning in the Property Tax group.

   24.       In March 2017, Gary Johnson became Vice President (“VP”) Property

Tax, and DiBenedetto began reporting to him.

   25.       Johnson reported to Senior Vice President (“SVP”) Tax Paul

Stephens. SVP Tax Paul Stephens led the Tax Department. The Tax Department

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included the Property Tax group as well as other Tax groups. Most or all these

other Tax groups were led by VPs similar in rank to Johnson, and most or all of

them included multiple AVPs (peers of DiBenedetto).

   26.       The Tax Department was, in turn, a unit of the Finance Department.

The Finance Department was headed by Chief Financial Officer (“CFO”) John

Stephens, to whom SVP Tax Paul Stephens reported. The Finance Department

included the Tax Department as well as multiple other departments such as

Accounting, Financial Planning & Analysis, Treasury, and External Reporting.

   27.       CFO John Stephens reported to the Chief Executive Officer (“CEO”),

John Stankey.

   28.       DiBenedetto received consistently positive evaluations and merit-

based compensation awards during his employment with AT&T.

   29.       In his final performance evaluation, delivered in February 2020 and

covering the year 2019, Johnson rated DiBenedetto “Meaningful Impact,” meaning

that DiBenedetto had met or exceeded expectations.

   30.       Johnson wrote in the overall comments section that DiBenedetto was

“a very talented, creative and resourceful valuation professional … [who] is clearly

capable of running a successful project, which at AT&T is extremely challenging,

as it typically involves several other groups outside of Tax.”

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   31.      In his year-2018 review, conducted by his previous supervisor

Elizabeth   Creager,   DiBenedetto    received   the   maximum   overall   rating:

“Extraordinary Impact.”

   32.      Creager wrote the following about DiBenedetto in the overall

comments section of that review:

            Joe had an extraordinary year closing several planning
            projects that have been in progress for a few years. Joe
            excels at developing strategies that deliver significant
            property tax savings for AT&T. He effectively
            communicates to the team and keeps meetings action
            oriented by providing documents that summarize the
            project and the action steps necessary to complete it. He
            continuously brainstorms with the team to come up with
            innovative ideas to create additional savings for the
            company. Joe thank you for all your hard work and
            dedication.

   33.      DiBenedetto not only performed his own role well, but Johnson also

repeatedly asked him to take on other roles.

   34.      This was consistent with Finance Department practice, which was to

move and promote AVPs and other leaders into positions outside their prior

experience. Johnson, for example, had little property tax experience before AT&T

made him VP Property Tax. The same was true of DiBenedetto’s prior supervisor,

Elizabeth Creager.




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   35.       In 2019 and 2020, two of DiBenedetto’s fellow AVPs required

extended leaves from work lasting about half a year in each case. Both AVPs

supervised AT&T’s property tax field teams, areas of responsibility different from

DiBenedetto’s.

   36.       Johnson selected DiBenedetto from the approximately eight available

AVPs reporting to him to lead first one, and then the other, tax field team on an

interim basis lasting roughly half a year in each instance.

   37.       On both occasions, DiBenedetto took over his peers’ duties and teams

while also retaining his preexisting research and planning responsibilities.

   38.       On both occasions, the field teams met or exceeded their performance

goals under DiBenedetto’s interim leadership.

   39.       Johnson held biweekly meetings with each of his AVPs, including

DiBenedetto.

   40.       During his regular meetings with DiBenedetto, Johnson gave

DiBenedetto consistently positive feedback.

                      AT&T’s Diversity and Inclusion Initiative

   41.       During the last several years of DiBenedetto’s employment with

AT&T, the company undertook an increasingly aggressive Diversity and Inclusion

(“D&I”) initiative.

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   42.      One of the D&I goals was to intentionally alter the racial, ethnic, and

gender composition of AT&T’s workforce, especially at the leadership levels

occupied by AVPs like DiBenedetto, to make them less white and less male on

percentage bases.

   43.      The D&I program was a corporate-wide program. It was overseen by

AT&T’s corporate-level human resources officials, and the senior leaders in each

department (including Finance Department leaders like VP Gary Johnson, SVP

Paul Stephens, and CFO John Stephens) were held accountable for ensuring

compliance with the program within their respective units.

   44.      To implement the D&I program, AT&T compiled and distributed to

its business department leaders (including the Finance Department) detailed

information on the racial, ethnic, and gender demographics of its workforce,

including breakdowns of these demographics at different levels of the corporate

and departmental hierarchies.

   45.      Consistent with the D&I initiative, the Finance Department, including

the Tax Department, sought to and, upon information and belief, did, beginning in

at least 2018, hire new employees who were more heavily non-white, and more

heavily female, than would be expected in the absence of discrimination. These

newly hired employees were also predominantly younger workers, which was

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consistent with the Tax and Finance Departments’ age-based succession planning,

as pled in more detail below.

   46.      Consistent with the D&I initiative, the Finance Department, including

the Tax Department, sought to and, upon information and belief, did, beginning in

at least 2018, promote employees who were more heavily non-white, and more

heavily female, than would be expected in the absence of discrimination. These

newly promoted employees were also predominantly younger workers, which was

consistent with the Tax and Finance Departments’ age-based succession planning,

as pled in more detail below.

   47.      In 2020, per AT&T’s response to DiBenedetto’s EEOC charge, VP

Gary Johnson had nine AVPs reporting to him, including DiBenedetto. All nine

were white. Three were women, and six were men.

   48.      The absence of non-whites and the predominance of males among the

AVPs reporting to Johnson were inconsistent with the AT&T D&I goals, which

emphasized making this level of leadership less white and less male.




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  The AT&T Finance Department’s Leaders Explicitly Made Employment
   Decisions about DiBenedetto and Other AVPs Based on Age, Race, and
                                 Gender

   49.       Johnson frequently discussed the ages of Tax department employees

under his supervision (including the AVPs) as a basis for decisions about their

advancement and retention.

   50.       Many of Johnson’s age-related comments dealt with how much

“runway” his team members (including the AVPs) had left in their AT&T careers.

   51.       When Johnson used the term “runway” in reference to employees, he

referred to his ageist assumption that older employees were, because of their age,

closer to leaving AT&T and therefore less worth promoting or retaining than

younger employees whom, Johnson assumed because of their age, would stay with

AT&T longer and were therefore more worth promoting or retaining. These

assumptions were based on employees’ ages without regard for whether or when

each employee planned to leave the company to retire, join another company, start

another career, or for some other reason.

   52.       Johnson and his supervisor, SVP Tax Paul Stephens, based decisions

about employee termination and advancement on employees’ ages, including but

not limited to their ageist “runway” assumptions.




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    53.       One of the nine AVPs reporting to Johnson in 2020 was Gary

Wiggins. Wiggins, 71 at the time, was the oldest of the AVPs under Johnson by at

least five years.

    54.       In mid-2020, AT&T decided to eliminate Wiggins’ position.

    55.       In the months before eliminating Wiggins’ position, Johnson said

several times that Wiggins was being selected for elimination because he had little

runway left in his career. Johnson directed DiBenedetto to begin participating

alongside Wiggins in Wiggins’s team meetings in preparation for Wiggins’

separation. During these conversations, Johnson told DiBenedetto that Wiggins

was being separated because he lacked “runway.”

    56.       On or about July 8, 2020, Johnson told DiBenedetto that he planned to

retire within the next two years. DiBenedetto said he would be interested in

pursuing the VP position Johnson then held whenever Johnson left.

    57.       Johnson told DiBenedetto he was qualified for the VP role and should

pursue it but that he did not believe DiBenedetto would obtain the position because

he was an old, white male with not enough “runway” left in his career.

    58.       DiBenedetto asked Johnson to raise the subject of his potential

promotion with Johnson’s supervisor, SVP Tax Paul Stephens.




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   59.       On or about July 22, 2020, Johnson told DiBenedetto he had

discussed the possibility of DiBenedetto’s future promotion with SVP Tax Paul

Stephens. Per Johnson, Paul Stephens wanted a departmental succession plan with

people who “have a little bit more runway ahead of them.”

   60.       Johnson told DiBenedetto, “you could tell me you’ve got at least until

you’re 65 and, you know, is that enough runway? I don’t think it is, Joe.”

   61.       Johnson said, “in these roles, you know, you’ve got to be able to adapt

and move, and I’m not saying you can’t, but a 58-year-old white guy, I don’t know

if that’s going to happen.”

   62.       Meanwhile, AT&T had continued intensifying its D&I program.

   63.       On July 27, 2020, five days after Johnson told DiBenedetto he was

unpromotable because he was a “58-year-old white guy,” and less than two months

before DiBenedetto’s subsequent elimination, CFO John Stephens sent an email

entitled “More work to do in Finance.”

   64.       CFO John Stephens’ memo was addressed to the entire US-based

Finance Department, which he led, and of which Tax, under VP Tax Paul

Stephens, was just one of several departments.

   65.       CFO John Stephens’ email referenced statements made earlier that

same day by CEO John Stankey about AT&T’s race, ethnicity, and gender

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demographics. John Stephens’s email included bar graphs and charts showing the

race, ethnicity, and gender composition of the Finance Department and

breakdowns of these demographics by non-management positions, management

positions, and senior leadership positions. The email stated, “Our demographics

demonstrate that we must focus more on attracting and retaining diverse employees

throughout our organization, especially at our senior levels.”

   66.       DiBenedetto occupied a senior level. So did Wiggins.

          Less Than Two Months After Telling DiBenedetto He Could Not
          Advance because he is “a 58-year-old white guy,” Johnson Told
                     DiBenedetto his Position was Eliminated

   67.       On or about September 17, 2020, Johnson told DiBenedetto his

position was being eliminated.

   68.       Johnson told DiBenedetto the decision was not performance related.

The decision was, per Johnson, numbers related. When Johnson referred to the

decision being “numbers related,” he was referring the financial performance of

the company.

   69.       About a week later, Johnson reiterated to DiBenedetto that the

decision to eliminate his position was not performance related.

   70.       On or about October 5, 2020, DiBenedetto spoke with VP Tax Paul

Stephens, who also confirmed that the decision to eliminate DiBenedetto’s position

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was not performance related but instead was allegedly because the business was

struggling.

    71.       VP Tax Paul Stephens told DiBenedetto the plan to eliminate

DiBenedetto’s position had been approved by CFO Stephens and CEO John

Stankey.

    72.       On or about October 8, 2020, while DiBenedetto remained employed

with AT&T before the effective date of his elimination, AT&T’s Controller,

Debbie Dial, and its Senior Vice President of Human Resource Operations, Scott

Smith, led a webcast attended by the Finance Department’s managers. Their

subject was the company’s ongoing (“D&I”) initiative.

    73.       During that webcast, Smith referenced having sent demographic data

on AT&T’s workforce to the company’s senior leaders. He stated that the company

had been formulating D&I operating plans for which leaders would be

accountable. He also stated AT&T would conduct quarterly D&I operations

reviews.

    74.       Per the webcast, many of these initiatives were things the company

had already been doing, but recently the company was doubling down on its D&I

efforts.




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   75.        Dial and Smith indicated that the D&I effort emphasized the director

level of the company. This was the level that included AVPs.

   76.        At or about the same time as the October 8, 2020 D&I presentation by

Dial and Smith, CEO John Stankey gave an internal webcast on the company’s

performance for the third quarter of 2020, which had just concluded.

   77.        Stankey reported that the company had had a solid third quarter, citing

multiple business performance metrics in support of his positive assessment.

Stankey’s webcast was preceded by an email whose subject line read, “Thumbs up!

Q3 earnings recap in less than 3 minutes” and stated, “We announced strong third-

quarter results this morning….” This was about three days after VP Tax Paul

Stephens told DiBenedetto his position was eliminated because the company was

struggling.

   78.        On November 2, 2020, DiBenedetto worked his last day with AT&T,

concluding his two-decade career with the company.

   79.        The separation papers AT&T provided DiBenedetto told him he

should look for a new job outside the company rather than search internally.

   80.        At or about the same time as DiBenedetto’s elimination, the Tax

Department eliminated at least a dozen other individuals. Upon information and

belief, approximately nine of them were male; all were white, and all were over the

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age of fifty. Indeed, in connection with informing DiBenedetto of his own

separation, VP Tax Paul Stephens and SVP John Stephens both told him that the

job eliminations were not limited to Tax but rather were made throughout the

entire Finance Department.

   81.      In connection with his elimination, AT&T sent DiBenedetto a

document entitled “ADEA Listing” which identified the “Decisional Unit” AT&T

deemed eligible for job elimination as “AVP positions responsible for property tax

negotiations and property tax research and planning that report to VP, Gary

Johnson.”

   82.       “AVP positions responsible for property tax negotiations and

property tax research and planning that report to VP, Gary Johnson” was not a

business or decisional unit of AT&T.

   83.      Rather, this purported “Decisional Unit” referred specifically to three

of the nine AVPs reporting to VP Property Tax Johnson; all three were male, and

AT&T eliminated two of these three.

   84.      Had AT&T eliminated any of Johnson’s three female AVPs, this

would have been inconsistent with AT&T’s D&I goals.




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   85.      By eliminating two male AVPs, AT&T made the AVP team reporting

to Johnson substantially closer to equal male-female representation, which was

consistent with the D&I goals.

   86.      Within less than a year after these claimed job eliminations, the Tax

Department materially re-created one of the Director-level positions it had

eliminated and filled it with a female employee roughly ten years younger than the

previous incumbent woman it had eliminated.

   87.      AT&T, including its managerial and human resources officials

involved in the above-pled facts, knew throughout DiBenedetto’s employment that

it was a violation of DiBenedetto’s federal rights to discriminate against

DiBenedetto based on his race, gender, or age, or to terminate him because of his

race, gender, and age.

   88.      Specifically, but without limitation: the individuals responsible

making and approving the decision to eliminate DiBenedetto, including VP

Johnson, SVP Paul Stephens, CFO John Stephens, and CEO John Stankey, knew it

was illegal to terminate DiBenedetto because of his race, gender, or age via

training they had received on federal employee rights laws throughout their AT&T

careers, and based on their own knowledge and experience.




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   89.       AT&T, including its managerial and human resources officials

involved in the above-pled facts, acted with malice toward DiBenedetto.

   90.       Additionally and in the alternative, AT&T, including its managerial

and human resources officials involved in the above-pled facts, acted with reckless

disregard for DiBenedetto’s federally protected rights.

                        COUNT I
INTENTIONAL RACE DISCRIMINATION IN VIOLATION OF 42 U.S.C. §
                          1981

   91.       Plaintiff incorporates by reference all preceding paragraphs of the

Complaint.

   92.       At all times material to this Complaint, DiBenedetto and Defendant

were parties to an oral contract of employment under which, inter alia,

DiBenedetto worked for Defendant and Defendant compensated DiBenedetto for

his work.

   93.       DiBenedetto performed his contractual obligations by, inter alia,

working for Defendant.

   94.       Under 42 U.S.C. § 1981, it is unlawful for Defendant to discriminate

against DiBenedetto based on his race in the making or enforcement of contracts

with him.




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   95.       42 U.S.C. § 1981’s prohibition on race discrimination in the making

or enforcing of contracts applies to DiBenedetto’s employment contract with

Defendant.

   96.       The above-pled facts constitute race discrimination in violation of 42

U.S.C. § 1981 because Defendant discriminated against DiBenedetto by

terminating his employment because of his race.

   97.       Defendant’s intentionally discriminatory actions caused DiBenedetto

to suffer lost compensation and other benefits of employment, garden variety

emotional distress, inconvenience, humiliation, and other indignities.

   98.       DiBenedetto is entitled to damages, including back pay and lost

benefits, front pay and/or reinstatement, compensatory damages, punitive damages,

attorneys’ fees, and costs of litigation pursuant to 42 U.S.C. § 1988, and all other

relief recoverable under 42 U.S.C. § 1981.

   99.       Defendant acted with malice toward DiBenedetto, authorizing an

award of punitive damages.

  100.       Additionally and in the alternative, Defendant acted with reckless

disregard for DiBenedetto’s federally protected rights, authorizing an award of

punitive damages.




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                          COUNT II
         RACE DISCRIMINATION IN VIOLATION OF TITLE VII

  101.       Plaintiff incorporates by reference all preceding paragraphs of this

Complaint.

  102.       At all times material to this Complaint, DiBenedetto was Defendant’s

employee, and Defendant was DiBenedetto’s employer, within the meaning of

Title VII.

  103.       At all times material to this Complaint, Defendant had more than 500

employees.

  104.       Defendant violated DiBenedetto’s rights under Title VII by

terminating DiBenedetto because of his race.

  105.       Defendant undertook the above-pled conduct, including terminating

DiBenedetto, because of DiBenedetto’s race in violation of Title VII’s anti-

discrimination provisions.

  106.       Defendant’s conduct caused DiBenedetto to suffer damages, including

lost wages and benefits, garden variety emotional distress, inconvenience,

humiliation, and other indignities.

  107.       Defendant acted with malice toward DiBenedetto, authorizing an

award of punitive damages.


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  108.       Additionally and in the alternative, Defendant acted with reckless

disregard for DiBenedetto’s federally protected rights, authorizing an award of

punitive damages.

                          COUNT III
         AGE DISCRIMINATION IN VIOLAITON OF THE ADEA

  109.       Plaintiff incorporates by reference all preceding paragraphs of this

Complaint.

  110.       At all times material to this Complaint, Defendant was an “employer”

within the meaning of 29 U.S.C. § 630(b).

  111.       At all times material to this Complaint, Defendant had more than 20

employees.

  112.       Under the ADEA, it is illegal for Defendant to terminate an individual

because of that individual’s age. 29 U.S.C. § 623(a).

  113.       Defendant discriminated against DiBenedetto by terminating him

because of his age, in violation of the ADEA.

  114.       Defendant’s discriminatory actions have caused DiBenedetto damages

including, but not limited to, lost wages and benefits.

  115.       Defendant’s discriminatory acts were willful within the meaning of

the ADEA.


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  116.       DiBenedetto is entitled to liquidated damages under 29 U.S.C. §

626(b).

                            COUNT IV
          GENDER DISCRIMINATION IN VIOLATION OF TITLE VII

  117.       Plaintiff incorporates by reference all preceding paragraphs of this

Complaint.

  118.       At all times material to this Complaint, DiBenedetto was Defendant’s

employee, and Defendant was DiBenedetto’s employer, within the meaning of

Title VII.

  119.       At all times material to this Complaint, Defendant had more than 500

employees.

  120.       Defendant violated DiBenedetto’s rights under Title VII by

terminating DiBenedetto because of his gender.

  121.       Defendant     undertook   the    above-pled    conduct    because     of

DiBenedetto’s gender in violation of Title VII’s anti-discrimination provisions.

  122.       Defendant’s conduct caused DiBenedetto to suffer damages, including

lost wages and benefits, garden variety emotional distress, inconvenience,

humiliation, and other indignities.

  123.       Defendant acted with malice toward DiBenedetto, authorizing an

award of punitive damages.
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   124.         Additionally and in the alternative, Defendant acted with reckless

disregard for DiBenedetto’s federally protected rights, authorizing an award of

punitive damages.

                                PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands a TRIAL BY JURY and the following

relief:

          (a)   Declaratory judgment that Defendant violated Plaintiff’s rights under

                the federal statutes listed above;

          (b)   A permanent injunction against Defendant enjoining Defendant from

                further violations of the federal statutes listed above;

          (c)   Full back pay from the date of Plaintiff’s termination, including all

                raises to which Plaintiff would have been entitled but for his unlawful

                termination, and all fringe and pension benefits of employment, with

                prejudgment interest thereon;

          (d)   Reinstatement to Plaintiff’s former position with Defendant, or in the

                alternative, front pay to compensate Plaintiff for lost future wages,

                benefits, and pension;

          (e)   Liquidated damages pursuant to the ADEA;




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    (f)   Compensatory damages, in an amount to be determined by the

          enlightened conscience of the jury, for Plaintiff’s garden variety

          emotional distress, suffering, inconvenience, mental anguish, loss of

          enjoyment of life and special damages;

    (g)   Punitive damages in an amount to be determined by the enlightened

          conscious of the jury to be sufficient to punish Defendant for its

          conduct toward Plaintiff and deter Defendant from similar conduct in

          the future;

    (h)   Reasonable attorneys’ fees and cost; and

    (i)   Other and further relief as the Court deems just and proper.

    PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO

    TRIABLE.


    Respectfully submitted November 2, 2021.

                                    s/ Steven E. Wolfe
                                    Steven E. Wolfe
                                    Georgia Bar No. 142441
                                    Marissa R. Torgerson
                                    Georgia Bar No. 848356

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